AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

      JANE DOE and SALLY ROE (pseudonyms)                           )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 7:22-cv-6950
                                                                    )
                  SEE ATTACHED RIDER                                )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SEE ATTACHED RIDER




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CHRISTOPHER A. FERRARA, ESQ.
                                           Special Counsel – Thomas More Society
                                           148-29 Cross Island Parkway
                                           Whitestone, Queens, New York 11357
                                           Telephone: (718) 357-1040
                                           cferrara@thomasmoresociety.org

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 7:22-cv-6950

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
ADDRESSES FOR DEFENDANTS:


1) COUNTY OF WESTCHESTER COUNTY;

2) GEORGE LATIMER, Chief Executive of the County of Westchester, in his official capacity;

3) COUNTY OF WESTCHESTER DEPARTMENT OF PUBLIC SAFETY;

4) TERRANCE RAYNOR, Acting Commissioner of the Westchester Department of Public Safety, in his
  official capacity;

        ADDRESS FOR THE ABOVE (4) DEFENDANTS IS AS FOLLOWS:

        WESTCHESTER COUNTY LAW DEPT.
        ATTN: JOHN M. NONNA
        148 Martine Avenue
        White Plains, NY 10601



5) NEW ROCHELLE POLICE DEPARTMENT

        New Rochelle Law Department
        515 North Ave
        New Rochelle, NY 10801



6) CITY OF WHITE PLAINS DEPARTMENT OF PUBLIC SAFETY

        White Plains Law/Corporation Counsel
        255 Main Street
        White Plains, NY 10601
